   Case: 1:19-cv-03851 Document #: 38 Filed: 08/24/19 Page 1 of 2 PageID #:4989




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


  WHAM-O HOLDING, LTD. and
  INTERSPORT CORP. d/b/a WHAM-O,
                                                                 Case No.: 1:19-cv-3851
         Plaintiffs,
                                                                 Judge Matthew F. Kennelly
  v.
                                                                 Magistrate Judge Jeffrey Cummings
  THE PARTNERSHIPS AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

             NO.                                   DEFENDANT
             164                                 homme-fashion501
             239                                Actionclub Baby Store
             433                                        Flyday
             210                                    sporting_shop
             204                                      samsun16
             110                                     8season-gift


DATED: August 24, 2019                              Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    1033 South Blvd., Suite 200
                                                    Oak Park, Illinois 60302
                                                    Telephone: 708-203-4787
                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-03851 Document #: 38 Filed: 08/24/19 Page 2 of 2 PageID #:4989




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 24, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
